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 O'Reily, Charles A. (TAX)

  From: Lindsey Springer (gnutella~mindspring.coml
  Sent: Friday, September 25,2009 11 :56 AM
  To: O'Reilly, Charles A. (TAX)
  Subject: Re: Proposed Deposition Pursuant to Rule 15 of Vikki Wiggins

Mr. O'Reilly. It is good to see when you wish to communicate with me you author the email. Please let my response herein be
attached to your Motion if you persist on making one. I will not agree to the taking of Ms. Wiggins and Garlin Associated Ministries
deposition prior to trial as I do not have any time to take such deposition. I have a sixth amendment right to personally confront at
trial any witness you have relied upon in your hearsay indictment summarized by Brian Shern before your March 9, 2009 Grand
Jury. I do not have the billions of dollars Congress allocates to you to do whatever you think you can get away with. In the event
you pursue your out of court deposition I would demand seeing the letter from the Doctor claiming she is unable to travel along
with a list of medicine she is currently on along accompanied with a list of any medicine she was on at the time she testified before
one of your previous Grand Juries. I think the test is that in order for you to get her deposition in over my 6th Amendment Rights
you must show I had a prior opportunity to attend a deposition to which i was not invited to your previous chamber. A prior
opportunity does not mean whenever you set the deposition less than 30 days from triaL. We have depositions scheduled for the
1 st or 2nd October as well as I have responses to your motions in limine due on October 5th. I have a 17(b) to prepare for on
October 9, 2009, and within all that time I am having to prepare what limited discovery I have to tender to you. i have a supreme
court brief due on October 3 in the State Supreme Court of Oklahoma. I have a Petition for Rehearing in the 10th Circuit due on or
before October 13, 2009. This allows me one week to prepare for pretrial on October 21,2009. I do not have a spare minute
prior to trial to give you other than what you have already taken. Maybe there are alternative ways in which she could travel to
triaL. Just a thought. Lindsey Springer 9.25.09

 -----Original Message-----
 From: "O'Reilly, Charles A. (TAX)"
 Sent: Sep 25, 2009 9:24 AM
 To: Oscar Stilley, Lindsey Springer
 Cc: "Snoke, Ken (USAOKN)" , "Hall, Kathie (USAOKN)"
 Subject: Proposed Deposition Pursuant to Rule 1 5 of Vikki Wiggins

 Mssrs. Springer and Stilley:

 We have been informed by Ms. Wiggins that her health does not permit her to travel. She has indicated she will forward a
 letter from her doctor attesting to this fact. We intend to ask the Court to authorize a deposition pursuant to Rule 15 of the
 Federal Rules of Criminal Procedure. As part of that motion, we would like to be able to inform the Court of your position
 with respect to that motion.


 Thank you in advance for your attention.

 Charles O'Reilly
 Special Assistant U.S. Attorney




 9/25/2009
